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 5                             UNITED STATES DISTRICT COURT

 6                          SOUTHERN DISTRICT OF CALIFORNIA
 7
      UNITED STATES OF AMERICA,                      Case No.: '22 MJ0071
 8
                                Plaintiff,           COMPLAINT FOR VIOLATION OF:
 9
10                    V.                             18 U.S.C. § 922(g)(1) - Felon in
                                                     Possession of Ammunition
11
      BREON TYREE BRUNSON,
12    NICKIE HEILDELBURG NIXON,
13
                                Defendants.
14
           The undersigned complainant being duly sworn states:
15
                                             COUNT ONE
16
           On or about August 1, 2021, within the Southern District of California, defendants
17
     BREON TYREE BRUNSON and NICKIE HEILDELBURG NIXON, each knowing
18
     his/her status as a convicted felon, that is, a person having been previously convicted of a
19
     crime punishable by imprisonment for a term exceeding one year, did knowingly possess
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     ammunition that traveled in and affected interstate commerce, to wit: Seven (7) 9mm
21
     bullets; in violation of Title 18, United States Code, Section 922(g)(1).
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 1        The complainant further states that this complaint is based on the attached Probable
 2 Cause Statement incorporated herein by reference.
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                                                _____________________________
 5                                              Kari S. Harrison
                                                FBI Special Agent
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 7
 8 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
 9 telephone on this 6th day of January 2022.
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11                                              _________________________________
                                                HON. MICHAEL S. BERG
12                                              United States Magistrate Judge
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 1                             PROBABLE CAUSE STATEMENT
 2         I declare under the penalty of perjury that the following statement is true and correct:
 3         On August 1, 2021, San Diego Police Department (SDPD) officers were on duty near
 4 4100 Menlo Avenue, City of San Diego, in the Southern District of California. The officers
 5 observed a gray Hyundai SUV make a sudden right turn into a driveway with a “No Parking
 6 Sign” in violation of 22107 VC - unsafe turn and 22500 VC – Parking in a Private Driveway.
 7 Officers initiated a traffic stop.
 8         As the officers approached the vehicle both the driver and front passenger began to
 9 exit, they were told to stay in the vehicle, and they complied while leaving the vehicle doors
10 open. The driver of the vehicle was identified as BREON TYREE BRUNSON aka Madman,
11 the front passenger was identified as NICKIE HEIDELBERG NIXON aka Bolo and the
12 back seat passenger was identified as Gregory Lee Thomas aka Greedy. A records check
13 found BRUNSON did not have a valid driver’s license. BRUNSON stated the vehicle
14 belonged to him and he had recently purchased it. A records check found Thomas had a
15 valid 4th waiver and Thomas provided the same. All three occupants were known to the
16 officers as being associated with the street gang Skyline Piru, and all having prior arrests
17 related to firearms. All three occupants were removed from the vehicle. Officers began a
18 search of the vehicle and as one of the officers came around to the front passenger side of
19 the vehicle, they observed a black handgun on the left side of the front passengers’ seats
20 leaning against the center console. The black handgun was unserialized and had a loaded
21 magazine. There were seven 9 mm rounds of ammunition in the magazine and the magazine
22 was fully seated in the handgun. The loaded handgun was within arm’s reach of BRUSON,
23 NIXON, and Thomas.
24         A records check revealed that BRUNSON, NIXON, and Thomas had prior
25 convictions of Cal. Penal Code 29800(a)(1) – Felon in Possession of a Firearm.
26         BRUNSON, NIXON, and Thomas were taken to SDPD Headquarters where they
27 agreed to be interviewed. All three denied knowledge of the firearm and ammunition.
28 BRUNSON stated his DNA would not be found on the firearm.
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 1        The handgun and magazine were submitted to the San Diego Police Department
 2 Crime Laboratory for examination. No latent prints were developed; however, DNA swabs
 3 were taken from the handgun and magazine. DNA swab analysis results from the handgun
 4 found very strong support for inclusion from BRUSON (22%) and NIXON (16%) and
 5 excluded Thomas. A second DNA swab from another surface of the handgun found very
 6 strong support for inclusion from BRUSON (28%) and NIXON (17%) and excluded
 7 Thomas. A DNA swab from the surface of the magazine found very strong support for
 8 inclusion from BRUSON (41%) and NIXON (21%) and excluded Thomas.
 9        A records check on BRUNSON revealed that he had the following criminal history:
10
11     CONVICTION         COURT       OF   CHARGE                    TERM         OF
       DATE               CONVICTION                                 IMPRISONMENT
12     03/14/2021         California       3454 PC-PRCS Flash        10 days jail
13                        Superior Court   Incarceration Probation
                          – San Diego      Violation
14     10/13/2020         California       3454 PC-PRCS Flash        10 days jail
15                        Superior Court   Incarceration Probation
                          – San Diego      Violation
16     02/10/2020         California       3454 PC-PRCS Flash        10 days jail
17                        Superior Court   Incarceration Probation
                          – San Diego      Violation
18     09/18/2019         California       11377(A) HS-Possess       Misdemeanor, 90
19                        Superior Court   controlled substance      days jail
                          – San Diego
20
       09/06/2019         California       3454 PC-PRCS Flash        10 days jail
21                        Superior Court   Incarceration Probation
                          – San Diego      Violation
22
       08/14/2019         California       3454 PC-PRCS Flash        10 days jail
23                        Superior Court   Incarceration Probation
                          – San Diego      Violation
24
       06/17/2019         California       3454 PC-PRCS Flash        10 days jail
25                        Superior Court   Incarceration Probation
                          – San Diego      Violation
26
       06/07/2019         California       11377(A) HS-Possess       Misdemeanor, 3
27                        Superior Court   controlled substance      years probation, 20
28                        – San Diego                                days jail
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 1   04/13/2019   California       3454 PC-PRCS Flash        10 days jail
                  Superior Court   Incarceration Probation
 2                – San Diego      Violation
 3   1/10/2019    California       3454 PC-PRCS Flash        10 days jail
                  Superior Court   Incarceration Probation
 4                – San Diego      Violation
 5   12/27/2018   California       11377(A) HS-Possess       Misdemeanor, 3
                  Superior Court   controlled substance      years probation, 30
 6                – San Diego                                days jail
 7   12/19/2018   California       3454 PC-PRCS Flash        10 days jail
                  Superior Court   Incarceration Probation
 8                – San Diego      Violation
 9   12/13/2018   California       11377(A) HS-Possess       Misdemeanor, 3
                  Superior Court   controlled substance      years probation,
10                – San Diego                                fine
11   11/11/2018   California       3454 PC-PRCS Flash        10 days jail
                  Superior Court   Incarceration Probation
12                – San Diego      Violation
13   10/26/2018   California       3454 PC-PRCS Flash        10 days jail
                  Superior Court   Incarceration Probation
14                – San Diego      Violation
15   09/29/2018   California       3454 PC-PRCS Flash        10 days jail
                  Superior Court   Incarceration Probation
16                – San Diego      Violation
17   10/03/2018   California       11377(A) HS-Possess       Misdemeanors, 3
                  Superior Court   controlled substance;     years Probation, 30
18
                  – San Diego      148.9(A) PC-False ID to   days jail, fine; 3
19                                 Specific Peace Officers   years probation
                                                             concurrent
20
     03/08/2018   California       530.5(A) PC-Get           16 months Prison
21                Superior Court   Credit/ETC: Use Other’s
                  – San Diego      ID
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     02/07/2018   California       530.5(A) PC-Get         16 months Prison,
23                Superior Court   Credit/ETC: Use Other’s Condition of
24                – San Diego      ID                      Probation Firearms
                                                           Restriction and
25                                                         searchable
26                                                         probation
     07/14/2011   California       Violation of Parole     To finish term
27                Superior Court
28                – San Diego
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 1      01/08/2011         California         Violation of Parole –      To finish term
                           Superior Court     Felony
 2                         – San Diego
 3      02/05/2009         California         273.5(A) PC Inflcit        3 years Prison
                           Superior Court     Corporal Injury
 4                         – San Diego        Spouse/Cohab
 5      07/11/2006         California         11377(A) HS-Possess        32 months Prison
                           Superior Court     controlled substance
 6                         – San Diego
 7      08/09/2004         California         422 PC Threaten Crime      3 years Prison
                           Superior Court     with Intent to Terrorize
 8                         – San Diego
 9
10        A records check on NIXON revealed that he had the following criminal history:
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12      CONVICTION         COURT        OF CHARGE                        TERM              OF
        DATE               CONVICTION                                    IMPRISONMENT
13      06/27/94           U.S. Federal    Bank Robbery, Use of          183 months (15.25
14                         court           Firearm in commission         years) in prison.
                                           of Felony.
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16        Preliminary checks revealed that the ammunition was not manufactured in California.
17 Therefore, the ammunition traveled in, and/or affected interstate commerce to arrive in the
18 state of California.
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